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                           U.S. COMMODITY FUTURES TRADING COMMISSION
                                     140 Broadway - 19th Floor       1155 21st St., NW
                                       New York, NY 10005         Washington, DC 20581
                                     Telephone: (646) 746-9700 Telephone: (202) 418-5420
                                     Facsimile: (646) 746-9938 Facsimile: (202) 418-5523
                                                          www.cftc.gov


                                           January 7, 2021


VIA ECF
The Honorable Naomi Reice Buchwald
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007-1312

   Re:          Commodity Futures Trading Commission v. Michael Ackerman, Q3 Holdings,
                LLC and Q3 I, LP – Case No. 1:20-cv-01183-NRB

Dear Judge Buchwald:

         Pursuant to Section 2(E)(1) of your individual practices, this letter outlines the

substantive arguments advanced in Plaintiff’s Motion for Entry of Final Judgment by Default,

Permanent Injunction, Civil Monetary Penalty, and Other Statutory and Equitable Relief against

Defendants Michael Ackerman, Q3 Holdings, LLC, and Q3 I, LP.

Procedural History and Request for Default
         On February 11, 2020, Plaintiff filed a Complaint for Injunctive and Other Equitable

Relief and for Civil Monetary Penalties against Defendants Michael Ackerman, Q3 Holdings,

LLC and Q3 I, LP (collectively the “Defendants”), for violations of the Commodity Exchange

Act and its implementing regulations. The Complaint alleged that, from at least August 2017

through December 2019 Ackerman and the entities he founded, Q3H and Q3I, operated a

fraudulent scheme in which they solicited and misappropriated funds to purportedly trade virtual

currencies.
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       The Defendants were all served with a Summons and Complaint and Defendants all

failed to appear or answer the Complaint. Pursuant to Rule 55(a), the Clerk of Court entered a

default against each of the Defendants. Plaintiff now moves for a final judgment by default

against all three Defendants pursuant to Federal Rule of Civil Procedure 55(b)(2).

Requested Relief
       Permanent Injunction - This is a case where Defendants knowingly stole funds entrusted

to them. Rather than admitting their wrongdoing, Defendants took pains to conceal their fraud

by, among other things, fabricating account balances and making “Ponzi” scheme-like payments

to customers. Given this sustained misconduct and high degree of scienter, a permanent

injunction is warranted. Plaintiff respectfully requests that the Court enter a permanent injunction

in the form of or consistent with the language contained in the proposed order filed with its

motion.

       Restitution - Defendants solicited approximately $32 million from customers and less

than $10 million of customer funds was actually wired to virtual currency exchanges. Defendants

misappropriated a substantial majority of their customers’ funds for improper and unauthorized

uses, such as to wrongfully enrich themselves through the purchase of homes, cars, and other

luxury items. Accordingly, Plaintiff has requested that the Court order Defendants to pay

restitution that reflects the total customer losses proximately caused by the Defendants’

violations of the Commodity Exchange Act minus any money that may have been returned to

customers.

       Civil Monetary Penalty – The Commodity Exchange Act and its regulations authorize the

imposition of a civil monetary appropriate to the gravity of the offense and sufficient to act as a

deterrent. The civil monetary penalty can either be a set amount per violation or triple a




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defendant’s monetary gain. In this matter, Plaintiff is seeking a civil monetary penalty equal to

triple the Defendants’ monetary gains.



                                             Respectfully submitted,

                                                    S/Jason Gizzarelli
                                             Jason Gizzarelli (pro hac vice)
                                             Luke Marsh (pro hac vice)
                                             Jonah McCarthy

                                             ATTORNEYS FOR PLAINTIFF
                                             U.S. COMMODITY FUTURES
                                             TRADING COMMISSION




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